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              UNITED STA1ES OF AMERICA                     )
                                                           )       No.    02 CR 50014
                            V.                             )       Violation: Title 21, United States
                                                           )       Code, Section 841(a)(l).
              STANLEY FIELDS                               )

                                                       COQNTONE

                     The nI'.'ffi 2001 GRAND JURY charges:

                     On or about March 5, 2002, at Rockford, in the Northern District of Illinois, Western

              Division,

                                                    STANLEY FIEIDS,

              defendant herein, knowingly and intentionally distributed a controlled substance, namely 5 grams

              or more of a mixture containing cocaine base, a Schedule II Narcotic Drug Controlled Substance;

                     In violation of Title 21, United States Code, Section 84l(a)(l).
             Case: 3:16-cr-00107-bbc Document #: 2-1 Filed: 01/04/17 Page 2 of 3
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                                                   COUNT TWO

                 The JUNE 2001 GRAND JURY further charges:

                 On or about March 14, 2002, at Rockford, in the Northern District of IlJinois, Western

          Division,

                                                 STANLEY FIE1DS,

          defendant herein, knowingly and intentionally distributed a controlled substance, namely 5 grams

          or more of a mixture containing cocaine base, a Schedule II Narcotic Drug Controlled Substance;

                 In violation of Title 21, United States Code, Section 841(a)(l ).




                                                                       ATRUEBIIL:




                                                                       mREPERSON




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                      No.: 02 CR 50014


           UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS
                 WESTERN DIVISION



                UNITED STATES OF AMERICA

                                      VS.


                         STANLEY FIELDS



                      INFORMATION

               Violation(s): Title 21, United States
                     Code, Section 841(a)(l)




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